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                    UNITED STATES DISTRICT COURT

                      DISTRICT OF CONNECTICUT

BEATRICE LUNA                     :
                                  :
        v.                        :   CASE NO. 3:10CV2048 (AWT)
                                  :
EDISON PATRICK & ASSOCIATES,      :
INC., ET AL.                      :



                                ORDER

        The parties have reported that this action has been

settled in full.    Rather than continue to keep the case open on

the docket, the Clerk is directed to administratively close the

file without prejudice to reopening on or before March 18, 2011.

        If the parties wish to file a stipulation (for approval by

the court or simply for inclusion in the court’s file), they may

do so on or before March 18, 2011.

        The date set forth in this order may be extended for good

cause pursuant to a motion filed in accordance with Local Rule

7(b).

        It is so ordered.

        Dated at Hartford, Connecticut this 24th day of February,

2011.



                                      /s/ AWT
                                  Alvin W. Thompson
                                  United States District Judge
